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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
 ___________________________________
                                     )  CIVIL ACTION
 Keishanna George.                   )
                                     ) Docket No.      2:24-cv-02854
                      Plaintiff,     )
        v.                           ) District Judge:
                                     ) JANE TRICHE MILAZZO
 Housing Authority of New Orleans,   )
                                     ) Magistrate Judge:
                      Defendant.     ) DONNA PHILLIPS CURRAULT
 ___________________________________

                                       ORDER

    Considering Plaintiff’s motion to stay (Rec. 14) and the pending motion to

remand for lack of subject matter jurisdiction (Rec. 7),

    IT IS ORDERED that proceedings on Defendant’s Motion to Dismiss (Rec. 13)

are stayed.

    IT IS FURTHER ORDERED that if the Court denies the motion to remand, the

Submission date for the Motion to Dismiss (Rec. 13) shall be the first civil

submission date available on the Court’s posted Hearing Dates calendar, unless

otherwise ordered by this Court.

    IT IS FURTHER ORDERED that Plaintiff’s counsel shall notify chambers and

Defendant’s counsel that the Motion to Dismiss is to be submitted on that date.

    Signed in New Orleans, Louisiana, this ___ day of ____________, 2025.



                                        ___________________________________
                                              JANE TRICHE MILAZZO
                                        UNITED STATES DISTRICT JUDGE



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